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                                        UNITED STATES DISTRICT COURT
                                         MIDDLE DISTRICT OF FLORIDA
                                               TAMPA DIVISION


        JUDITH K. PETITT,

                          Plaintiff,

                   vs.
                                                                    Case No. 8:14-cv- 961-VMC-TGW
        U.S. BANK NATIONAL ASSOCIATION
        DBA ELAN FINANCIAL SERVICES,

                          Defendants.


                               STIPULATION OF DISMISSAL WITH PREJUDICE

                   Plaintiff, Judith K. Petitt, and Defendant, US Bank National Association d/b/a Elan

        Financial Services, by and through its undersigned counsel (collectively “the Parties), file this

        Stipulation of Dismissal with Prejudice and state as follows:

                   The Parties advise the Court that they have reached a settlement of this action and have

        entered into a Confidential Settlement Agreement. Therefore, pursuant to Local Rule 3.08, the

        Parties move for the entry of an Order of dismissal with prejudice, with this Court retaining

        jurisdiction to enforce the Confidential Settlement Agreement under the terms therein. Each

        party shall bear its own costs and attorneys’ fees as stated in the Confidential Settlement

        Agreement.

                   Dated this 9th day of September, 2014.



        _/s/ Christi A. Lawson                                        _/s/ Judith K. Petitt
        Christi A. Lawson                                             Judith K. Petitt
        Florida Bar No. 0498351                                       Pro Se Plaintiff
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